                                                                                       08/22/2024


           IN THE SUPREME COURT OF THE STATE OF MONTANA                            Case Number: DA 24-0211


                                   No. DA 24-0211

IN THE MATTER OF:

C.T.,

        A Youth in Need of Care.



                                      ORDER

        Upon consideration of Counsel’s motion to withdraw as counsel of record,

and good cause appearing therefore,

        IT IS HEREBY ORDERED that Appellant Mother in this matter shall file a

response to this motion within thirty (30) days of the date of this Order. The

response must be served upon all counsel of record, including the Attorney

General, the County Attorney, and the Appellate Defender Office.

        IT IS FURTHER ORDERED that the Clerk of Court give notice of this

Order by mail to all counsel of record and to the Appellant at her last known

address.




                                                                        Electronically signed by:
                                                                              Mike McGrath
                                                                 Chief Justice, Montana Supreme Court
                                                                             August 22 2024
